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                       IN THE UNITED STATES DISTRICT COURT
                       FOR THE NORTHERN DISTRICT OF TEXAS
                                 DALLAS DIVISION

  JAKIA WILLIAMS, Individually, and on
  behalf of all others similarly situated under 29
  U.S.C. § 216(b)

         Plaintiff,

  v.                                                           Civil No. ___________

  VISIONQUEST NATIONAL, LTD.

         Defendant.


                             COLLECTIVE ACTION COMPLAINT
        Jakia Williams (“Plaintiff”), individually, and on behalf of all others similarly situated

under 29 U.S.C. § 216(b), upon personal knowledge as to herself, and upon information and belief

as to other matters, brings suit against VisionQuest National, Ltd. (“VisionQuest” or “Defendant”)

to recover compensation, liquidated damages, attorneys’ fees, and costs under Sections 207 and

216(b) of the Fair Labor Standards Act (“FLSA”).

                                I.      PRELIMINARY STATEMENT

        1.      This is a collective action brought pursuant to the Fair Labor Standards Act of 1938,

29 U.S.C. §§ 201-219 (“FLSA”) by Plaintiff, on behalf of herself and all others similarly-situated.

See 29 U.S.C. § 216(b). The proposed collective of similarly situated employees (“Class

Members”) sought to be certified pursuant to 29 U.S.C. § 216(b), is defined as:

                All persons who worked for Defendant as hourly employees who were
                not paid for all hours worked over forty (40) hours in a workweek at
                any time during the three years prior to the filing of this lawsuit.

        2.      Congress passed the FLSA in 1938 in an attempt to eliminate low wages, long


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hours, and provide American workers with a wage that would support a minimum standard of

living. The FLSA seeks to achieve these goals by providing a minimum wage, the prohibition of

more than forty (40) hours in a single workweek without the payment of a premium or “overtime,”

as well as other protections for employees. The FLSA did not prohibit overtime, but rather, by

imposing a premium rate for overtime, the FLSA discouraged working employees for longer than

forty (40) hours in a single workweek. See Overnight Motor Transp. Co. v. Missel, 316 U.S. 572,

577-78 (1942).

        3.       Plaintiff and Class Members are those persons who are current and former non-

exempt Case Managers and other employees who worked for Defendant and were not paid

overtime at one-and-one-half their regular rate for all hours worked over forty (40) in each

workweek1.

        4.       This is an action to recover overtime compensation on behalf of Plaintiff and Class

Members. Plaintiff and Class Members routinely worked in excess of forty (40) hours in each

workweek.

        5.       Plaintiff and Class Members did not (and do not) perform work that meets the

definition of exempt work under the FLSA.

        6.       Plaintiff was paid on an hourly basis.

        7.       Throughout her employment, Defendant would shave or reduce Plaintiff’s reported

hours, resulting in underpayment of Plaintiff’s regular and overtime hours.

        8.       Defendant knowingly and deliberately committed violations of the FLSA by



1
 Whenever the term “workweek” is used in this Complaint, it shall carry the meaning assigned to it in 29
C.F.R. 778.105 (“a fixed and regularly recurring period of 168 hours – seven consecutive 24-hour
periods. It need not coincide with the calendar week but can begin on any day and at any hour of the
day.”)


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shaving or reducing the hours of its hourly employees to avoid or minimalize Defendant’s

obligation to pay Plaintiff and Class Members overtime compensation when they worked over

forty (40) hours in a workweek.

        9.      Accordingly, Plaintiff and Class Members bring this collective action to recover all

unpaid overtime, liquidated damages, attorneys’ fees, and costs under Section 216(b) of the FLSA.

        10.     Plaintiff also prays that all similarly situated workers (Class Members) be notified

of the pendency of this action to apprise them of their rights and provide them an opportunity to

opt-in to this lawsuit.

                                          II.    PARTIES

        11.     Plaintiff Jakia Williams, an individual, was employed by Defendant beginning on

or about November 12, 2017 and is presently still employed. After filing this Complaint, Ms.

Williams will immediately file her signed consent to become a party-plaintiff under the FLSA.

        12.     Class Members are those current and former employees who were employed by

Defendant at any time during the past three (3) years and have been subjected to the same illegal

pay system under which Plaintiff worked and was paid —specifically, all other employees who

Defendant did not pay time-and-one-half for all hours worked over forty (40) in a single workweek.

        13.     Defendant VisionQuest National, Ltd. is an entity created under the laws of Arizona

and is authorized to do business in the State of Texas. VisionQuest National, Ltd. can be served

with process by serving its registered agent, Paracorp Incorporated, 3610-2 N. Josey Lane, Suite

223, Carrollton, Texas 75007.

                                III.    JURISDICTION AND VENUE

        14.     This Court has federal question jurisdiction over the subject matter of this action

pursuant to the Fair Labor Standards Act of 1938, 29 U.S.C. 216(b) and 28 U.S.C. §§ 1331, 1337.



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       15.     This Court has personal jurisdiction over the parties because Defendant is doing

business in Texas and employing Texas residents (including Plaintiff) to work at Defendant’s

Texas business locations.

       16.     Venue is proper in this district under 28 U.S.C. 1391(b)(2) because a substantial

part of the events or omissions giving rise to this claim occurred in this district.

                                    IV.      FLSA COVERAGE

       17.     At all times hereinafter mentioned, Plaintiff and Class Members were employees

of Defendant as that term is defined by the FLSA.

       18.     At all times hereinafter mentioned, Defendant has acted, directly or indirectly, in

the interest of an employer with respect to Plaintiff and Class Members.

       19.     At all times mentioned, Defendant has been an employer within the meaning of

Section 3(d) of the FLSA, 29 U.S.C. § 203(d).

       20.     At all times mentioned, Defendant has been an enterprise within the meaning of

Section 3(r) of the FLSA, 29 U.S.C. § 203(r).

       21.     At all times mentioned, Defendant has been an enterprise engaged in commerce or

in the production of goods for commerce within the meaning of Section 3(s)(1) of the FLSA, 29

U.S.C. § 203(s)(1), in that said enterprise has had (a) employees engaged in commerce or in the

production of goods for commerce, or (b) employees handling, selling, or otherwise working on

goods or materials that have been moved in or produced for commerce by any person and that said

enterprise has had and has an annual gross volume of sales made or business done of not less than

$500,000.00 (exclusive of excise taxes at the retail level, which are separately stated).

       22.     First, during their employment with Defendant, Plaintiff and Class Members were

individual employees who were engaged in commerce or in the production of goods for commerce



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as required by 29 U.S.C. §§ 206-207. See Reich v. Circle C. Investments, Inc., 998 F.2d 324 (5th

Cir. 1993).

       23.     Specifically, Plaintiff and Class Members are non-exempt employees engaged in

interstate commerce. Further, Plaintiff and Class Members have handled materials and goods that

have been moved or produced in interstate commerce, which Defendant purchased or used in its

business operation.

                                         V.       FACTS

       24.     Defendant employed Plaintiff and Class Members as Case Managers.

       25.     The primary function of Defendant’s business is to provide intervention services to

at-risk youth and families by offering residential programs, community-based programs, mental

health and substance abuse services, foster care, and counseling or therapy related to problems

involving these at-risk youth and families.

       26.     To provide its services, Defendant employ Case Managers, such as Plaintiff and

Class Members, who are expected to take an active role in the development of and fostering of

therapeutic relationships between youth and staff to provide for effective treatment.

       27.     Specifically, Plaintiff and Class Members were required to engage in client

interaction and case management inherent to the programs and services provided by Defendant by

identifying, evaluating, clarifying and communicating issues as they relate to placing agency,

parents and youth.

       28.     Upon information and belief, Defendant had gross receipts in excess of $500,000

(exclusive of excise tax) for the year 2015.

       29.     Upon information and belief, Defendant had gross receipts in excess of $500,000

(exclusive of excise tax) for the year 2016.



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        30.     Upon information and belief, Defendant had gross receipts in excess of $500,000

(exclusive of excise tax) for the year 2017.

        31.     Upon information and belief, Defendant had gross receipts in excess of $500,000

(exclusive of excise tax), cumulatively, encompassing the four (4) quarters preceding the filing of

this lawsuit.

        32.     Defendant employed Plaintiff and Class Members for hours longer than forty (40)

hours in a workweek. During their employment, Plaintiff and Class Members regularly worked

more than forty (40) hours in workweeks during the three-year period preceding the filing of this

lawsuit.

        33.     Defendant classifies Plaintiff and Class Members as non-exempt hourly employees.

To be sure, Defendant pay Plaintiff and Class Members on an hourly basis.

        34.     In fact, Defendant compensates Plaintiff and Class Members at one-and-one-half

their hourly rate for some of the hours worked over forty (40) in a single workweek.

        35.     Defendant classifies Plaintiff and Class Members as hourly employees and in fact

has compensated them at one-and-one-half their hourly rate for some of the hours they worked

over forty (40) in a workweek.

        36.     However, Defendant did not compensate Plaintiff and Class Members for all hours

worked over forty (40) in each workweek. Defendant paid Plaintiff and Class Members on an

hourly basis but shaved or reduced the hours reflected on their time cards to avoid or minimize

payment of overtime compensation.

        37.     For instance, Defendant did not compensate Plaintiff and Class Members for all

hours worked. Plaintiff and Class Members are routinely on-call and work long hours outside of

the Defendant’s place of business – regularly making on-site visits.



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       38.     In addition to not paying for on-call hours, Defendant regularly engages in the

illegal practice of “time shaving.” In other words, Defendant pays Plaintiff and Class Members an

hourly wage based upon the number of hours worked after Defendant has reduced the actual

amount of time Plaintiff and Class Members worked and reported to Defendant.

       39.     Defendant’s practice of not paying Plaintiffs and Class Members for all hours

worked has resulted in Defendant’s unlawful failure to pay Plaintiff and Class Members time-and-

one-half their regular rate for all the hours worked over forty (40) in a single workweek.

       40.     Defendant maintained control, oversight, and direction over its operations,

including employment practices.

       41.     Defendant maintained and exercised the power to hire, fire, and discipline Plaintiff

and Class Members during their employment with Defendant.

       42.     Plaintiff and Class Members were required to comply with Defendant’s policies

and procedures in performing their work during their employment with Defendant.

       43.     At all times relevant hereto, Defendant knew of, approved of, and benefited from

the regular and overtime work of Plaintiff and Class members.

       44.     During the three-year period prior to this suit, Defendant has employed individuals

who performed similar job duties under a similar payment scheme as used to compensate Plaintiff.

       45.     Defendant employed Plaintiff and Class Members within the three (3) year period

preceding the filing of this lawsuit and did not pay Plaintiff and Class Members for all hours

worked over forty (40) in a workweek.

       46.     Defendant’s method of paying Plaintiff and Class Members in violation of the

FLSA was not based on good-faith and a reasonable belief that its conduct complied with the

FLSA. Therefore, an award of liquidated damages is mandatory.



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        47.    Defendant’s method of paying Plaintiff and Class Members in violation of the

FLSA was willful and was not based on good-faith and reasonable belief that its conduct complied

with the FLSA. A three-year statute of limitations applies due to the willful nature of the violations.

29 U.S.C. § 255(a).

        48.    Defendant is an employer subject to the provisions of the FLSA and therefore

violated the provisions of sections 11(c) and 15(a)(5) of the FLSA in that it failed to make, keep,

and preserve adequate and accurate records of employees and the wages, hours and other

conditions and practices of employment maintained by them as prescribed by regulations duly

issued pursuant to authority granted in the FLSA and found in 29 C.F.R. Part 516. Specifically,

Defendant failed to maintain a weekly record of hours worked, failed to record overtime hours,

i.e., all hours worked more than forty hours in a workweek, and failed to record the correct

overtime rate of pay for such hours.

        49.    During the three-year period prior to this suit, Defendant has employed individuals

who performed similar job duties under a similar payment scheme as was used to compensate

Plaintiff.

                           VI.     COLLECTIVE ACTION ALLEGATIONS

        50.    The foregoing paragraphs are incorporated herein as if set forth in full.

        51.    Plaintiff brings this FLSA claim, as an “opt-in” collective action pursuant to 29

U.S.C. § 216(b) (the “Collective Action”). Other employees have been victimized by the pattern,

practice, and policy of Defendant that is in violation of the FLSA. Plaintiff is aware that the illegal

practices and policies of Defendant has been imposed on other workers. Therefore, in addition to

the claims of the individually named Plaintiff, Plaintiff brings this action as a representative of all

similarly-situated former and current employees of Defendant.



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       52.     The proposed collective of similarly situated employees (“Class Members”) sought

to be certified pursuant to 29 U.S.C. § 216(b), is defined as:

               All persons who worked for Defendant as hourly employees who were
               not paid for all hours worked over forty (40) hours in a workweek at
               any time during the three years prior to the filing of this lawsuit.

       53.     FLSA claims may be pursued by those who opt-in to this case, pursuant to 29

U.S.C. § 216(b).

       54.     Plaintiff, individually and on behalf of all similarly-situated employees, seeks relief

on a collective basis challenging Defendant’s failure to pay employees overtime compensation for

all hours worked over forty (40) in a workweek.

       55.     Plaintiff is aware of other employees who work for Defendant who were paid in the

same unlawful manner as Plaintiff. Plaintiff is aware that the illegal practices or policies of

Defendant have been uniformly imposed on the Class Members.

       56.     Plaintiff and the Class Members have the same pay structure and have similar job

duties. Plaintiff and Class Members are all victims of Defendant’s unlawful practices.

       57.     Plaintiff and the Class Members are all non-exempt for purposes of overtime pay

under the FLSA. Defendant paid Plaintiff and Class Members on an hourly basis and suffered and

permitted them to work more than forty (40) hours in workweeks covered by this lawsuit.

However, Defendant did not pay Plaintiff and Class Members for all hours worked over forty (40)

in workweeks covered by this lawsuit. Plaintiff and Class Members were all subjected to

Defendant’s time shaving scheme and failure to pay for all hours worked over forty (40) in each

workweek.

       58.     Defendant’s operations and compensation policies with respect to Plaintiff and

Class Members are substantially similar, if not identical. Defendant’s pattern and practice of



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shaving time and not paying for all hours worked to avoid the FLSA’s overtime obligations as

mandated under the FLSA results from Defendant’s general application of policies and practices

and does not depend on the personal circumstances of Plaintiff and Class Members. Plaintiff’s

experience regarding pay is typical of the experiences of the Class Members.

        59.    Although the exact amount of damages may vary among Class Members, the

damages for the Class Members can be easily calculated by a simple formula. The Class Members’

claims arise from a common nucleus of facts. Specifically, Defendant’s systematic course of

wrongful conduct caused harm to Plaintiff and the Class Members that supports Defendant’s FLSA

liability.

        60.    Plaintiff requests that Defendant identify all prospective members of the Collective

Class in order that proper notice of their right to consent to participation in this collective action

may be distributed, including their names, dates of employment, job titles, last known addresses,

and telephone numbers.

        61.    Plaintiff seeks to represent those members of the above-described group who, after

appropriate notice of their ability to opt into this action, have provided consent in writing to be

represented by the undersigned Plaintiff’s counsel as required by 29 U.S.C. § 216(b).

        62.    Those individuals who choose to opt in will be listed on subsequent pleadings and

copies of the written consents will be incorporated by reference.

        63.    Plaintiff will fairly and adequately represent and protect the interests of the Class

members who opt into this action.

                VII.    CAUSE OF ACTION: FAILURE TO PAY OVERTIME WAGES
                       IN ACCORDANCE WITH THE FAIR LABOR STANDARDS ACT

        64.    The foregoing paragraphs are fully incorporated herein.




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       65.    Plaintiff and Class Members are all non-exempt employees for purposes of

overtime pay under the FLSA. As non-exempt employees under the FLSA, if Plaintiff and Class

Members worked over forty (40) hours in a workweek, they were entitled to overtime pay.

       66.    Over the course of the relevant period, Plaintiff and Class Members routinely

worked in excess of forty (40) hours in workweeks covered by this lawsuit.

       67.    Even though Plaintiff and Class Members worked in excess of forty (40) hours in

workweeks covered by this lawsuit, Defendant failed to pay them overtime compensation for all

hours worked in excess of forty (40) hours per workweek.

       68.    Defendant has violated 29 U.S.C. § 201 et seq. by failing to pay Plaintiff and Class

Members overtime premiums for all hours worked over forty (40) hours per workweek.

       69.    During the relevant period, Defendant has violated and is violating the provisions

of Section 7 of the FLSA, 29 U.S.C. § 207, 215(a)(2), by employing Plaintiff and Class Members

in an enterprise engaged in commerce or in the production of commerce within the meaning of the

FLSA, as aforesaid, by failing to pay such employees at a rate of not less than one and one-half

times the regular rate for every hour worked over forty (40) in a workweek. Plaintiff and Class

Members’ regular rate must include all compensation, bonuses, and other remuneration paid by

Defendant for purposes of calculating the overtime rate. See 29 C.F.R. 778.208.

       70.    None of the exemptions or defenses provided by the FLSA regulating the duty of

employers to pay employees for all hours worked at the required overtime rate are applicable to

Defendant, Plaintiff, or Class Members.

       71.    In further violation of the FLSA, Defendant has failed to maintain accurate

employee pay records, including the true number of hours worked per workweek by Plaintiff and

Class Members. No excuse, legal justification or exemption excuses Defendant’s failure to pay



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Plaintiff and Class Members overtime compensation for all hours worked over forty (40) hours in

a workweek.

       72.     Defendant has failed to make a good faith effort to comply with the FLSA. Instead,

Defendant knowingly, willfully, or with reckless disregard carried out its illegal pattern or practice

regarding overtime compensation.

       73.     Plaintiff and Class Members seek all unpaid overtime compensation and an

additional equal amount as liquidated damages, as well as reasonable attorneys’ fees, costs, and

litigation expenses, including expert witness fees, as provided by 29 U.S.C. § 216(b), along with

pre- and post-judgment interest at the highest rate allowed by law.

                                       VIII. JURY DEMAND

       74.     Plaintiffs requests a trial by jury.

                                     IX.     DAMAGES SOUGHT

       75.     Plaintiff and Class Members are entitled to recover compensation for the hours

worked over forty (40) hours in each workweek, but for which Plaintiff and Class Members were

not paid at one-and-one-half times their regular rate. The regular rate shall include all remuneration

received, including all bonuses.

       76.     Plaintiff and Class Members are also entitled to an amount equal to all of the unpaid

wages and fees as liquidated damages as Defendant’s actions were not based upon good faith. See

29 U.S.C. § 216(b).

       77.     Plaintiff and Class Members are entitled to recover attorneys’ fees and costs as

required by the FLSA. 29 U.S.C. § 216(b).

                                           X.         PRAYER

       78.     For these reasons, Plaintiff and Class Members respectfully request that judgment



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be entered in their favor, against Defendant, awarding Plaintiff and Class Members the following

relief:

          a. For an Order pursuant to Section 216(b) of the FLSA finding Defendant liable for
             unpaid back wages due to Plaintiff (and those who may join in the suit) and for
             liquidated damages equal in amount to the unpaid compensation found due to Plaintiff
             (and those who may join in the suit); and

          b. For an Order pursuant to Section 216(b) of the FLSA finding Defendant liable for
             Plaintiff (and those who may join in the suit) attorneys’ fees and costs; and

          c. Pre-judgment and post-judgment interest at the highest rates allowed by law; and

          d. For an Order granting such other and further relief, at law or in equity, as may be
             necessary and appropriate.

                                              Respectfully submitted,



                                              By: /s/ Drew N. Herrmann
                                                      Drew N. Herrmann
                                                      Texas Bar No. 24086523
                                                      drew@herrmannlaw.com
                                                      Pamela G. Herrmann
                                                      Texas Bar No. 24104030
                                                      pamela@herrmannlaw.com

                                                      HERRMANN LAW, PLLC
                                                      801 Cherry St., Suite 2365
                                                      Fort Worth, Texas 76102
                                                      Phone: 817-479-9229
                                                      Fax: 817-887-1878
                                                      ATTORNEYS FOR PLAINTIFF AND
                                                      CLASS MEMBERS




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